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                  United States Court of Appeals
                          FOR THE DISTRICT OF COLUMBIA CIRCUIT



No. 24-7059                                                September Term, 2024
                                                           FILED ON: MAY 30, 2025

MEDIA MATTERS FOR AMERICA AND ERIC HANANOKI,
                  APPELLEES

v.

WARREN KENNETH PAXTON, JR., IN HIS OFFICIAL CAPACITY AS ATTORNEY GENERAL OF THE
STATE OF TEXAS,
                 APPELLANT


                         Appeal from the United States District Court
                                 for the District of Columbia
                                     (No. 1:24-cv-00147)


       Before: HENDERSON and PAN, Circuit Judges, and EDWARDS, Senior Circuit Judge

                                      JUDGMENT

       This cause came to be heard on the record on appeal from the United States District
Court for the District of Columbia and was argued by counsel. On consideration thereof, it is

        ORDERED and ADJUDGED that the judgment of the District Court appealed from in
this cause be affirmed including its issuance of a preliminary injunction in favor of Appellees,
in accordance with the opinion of the court filed herein this date.

                                         Per Curiam


                                                            FOR THE COURT:
                                                            Clifton B. Cislak, Clerk

                                                    BY:     /s/

                                                            Daniel J. Reidy
                                                            Deputy Clerk


Date: May 30, 2025

Opinion for the court filed by Senior Circuit Judge Edwards.
Opinion concurring in the judgment filed by Circuit Judge Henderson.
